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                                        STATUS OF CASE A20-70241-JWC
                                                 Dated: May 24, 2022


        DEBTOR:                                                               ATTORNEY:
        DARA ELAINE COVILE                                                    STANTON AND WORTHY, LLC
        1181 TIMBERLAND DRIVE                                                 547 PONCE DE LEON AVENUE NE
        LILBURN, GA 30047                                                     SUITE 150
                                                                              ATLANTA, GA 30308
                                                                              (404) 800-6415


Date Filed:               September 28, 2020              Balance On Hand:                      $457.70
First Meeting Date:       October 29, 2020                Total Paid In:                        $29,498.00
Bar Date:                 January 27, 2021                Total Monthly Pmt Amount:             $1,725.00
Confirmation Date:        February 03, 2021               Total Disbursed:                      $29,040.30
Case Status:     ACTIVE                                   Unsecured Creditor Percentage:        $100.00%

The following information reflects the current status of your case. Payoff amounts, claim amounts and the status of
claims are always SUBJECT TO AUDIT PRIOR TO PAYOUT.

This Status Report does not include future interest or future Trustee Fee.    *
You may not refinance or sell property without prior Court approval.

All lawsuits and settlements are required to be disclosed and approved by the Bankruptcy Court. If you are involved i
any lawsuit or cause of action, you MUST provide an update to your bankruptcy lawyer concerning the status of the
lawsuit or any settlement. Failure to do so may cause you to lose your right to any settlement proceeds.


Payments Received During the Last 6 Months:
December 09, 2021           $486.92                       December 14, 2021                $486.92
January 05, 2022            $486.92                       January 11, 2022                 $486.92
January 11, 2022            $486.92                       January 26, 2022                 $486.92
February 14, 2022           $486.92                       March 04, 2022                   $486.92
March 10, 2022              $486.92                       March 31, 2022                   $486.92
April 11, 2022              $486.92                       April 21, 2022                   $486.92
May 04, 2022                $486.92


Claims:

CREDITOR NAME                          CLASS        CLAIM AMT          PRIN PD         INT PD        BAL DUE W/O INT *
MSU FEDERAL CREDIT UNI (PD DIRECT
                               Notice
                                    BYOnly
                                        CO-DEBTOR) $0.00                    $0.00           $0.00                $0.00
GEORGIA DEPARTMENT OF REVENUE  Priority        $2,480.24                $1,506.79           $0.00              $973.45
INTERNAL REVENUE SERVICE       Priority       $24,739.34               $15,029.55           $0.00            $9,709.79
AMERICREDIT FINANCIAL SVC. dba Secured
                               GM FINANCIAL $5,762.80                   $5,762.80          $44.26                $0.00
GEORGIA DEPARTMENT OF REVENUE  Secured            $80.40                   $80.40           $0.00                $0.00
AMERICAN EXPRESS NATIONAL BANK Unsecured       $2,275.80                    $0.00           $0.00            $2,275.80
ASHLEY FUNDING SERVICES LLC Unsecured             $73.00                    $0.00           $0.00               $73.00
CREDIT FIRST NA                Unsecured           $0.00                    $0.00           $0.00                $0.00
DEPARTMENT STORES NATIONAL BANKUnsecured         $378.62                    $0.00           $0.00              $378.62
DEPTEDNELNET (S/L)             Unsecured           $0.00                    $0.00           $0.00                $0.00
DEPTEDNELNET (S/L)             Unsecured           $0.00                    $0.00           $0.00                $0.00
DEPTEDNELNET (S/L)             Unsecured           $0.00                    $0.00           $0.00                $0.00
DEPTEDNELNET (S/L)             Unsecured           $0.00                    $0.00           $0.00                $0.00
DEPTEDNELNET (S/L)             Unsecured           $0.00                    $0.00           $0.00                $0.00
DEPTEDNELNET (S/L)             Unsecured           $0.00                    $0.00           $0.00                $0.00
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CREDITOR NAME                CLASS        CLAIM AMT      PRIN PD     INT PD     BAL DUE W/O INT *
DEPTEDNELNET (S/L)          Unsecured        $0.00           $0.00      $0.00               $0.00
DEPTEDNELNET (S/L)          Unsecured        $0.00           $0.00      $0.00               $0.00
DEPTEDNELNET (S/L)          Unsecured        $0.00           $0.00      $0.00               $0.00
DEPTEDNELNET (S/L)          Unsecured        $0.00           $0.00      $0.00               $0.00
DEPTEDNELNET (S/L)          Unsecured        $0.00           $0.00      $0.00               $0.00
DEPTEDNELNET (S/L)          Unsecured        $0.00           $0.00      $0.00               $0.00
DEPTEDNELNET (S/L)          Unsecured        $0.00           $0.00      $0.00               $0.00
DEPTEDNELNET (S/L)          Unsecured        $0.00           $0.00      $0.00               $0.00
DEPTEDNELNET (S/L)          Unsecured        $0.00           $0.00      $0.00               $0.00
DISCOVER FIN SVCS LLC       Unsecured        $0.00           $0.00      $0.00               $0.00
DSNB MACYS                  Unsecured        $0.00           $0.00      $0.00               $0.00
GEORGIA DEPARTMENT OF REVENUE
                            Unsecured       $46.77           $0.00      $0.00              $46.77
GM FINACIAL                 Unsecured        $0.00           $0.00      $0.00               $0.00
IC SYSTEM                   Unsecured        $0.00           $0.00      $0.00               $0.00
INTERNAL REVENUE SERVICE    Unsecured   $10,215.18           $0.00      $0.00          $10,215.18
JJ MARSHALL                 Unsecured    $1,220.71           $0.00      $0.00           $1,220.71
LAUREATE MEDICAL GROUP AT NORT
                            Unsecured        $0.00           $0.00      $0.00               $0.00
LAUREATE MEDICAL GROUP AT NORTHSIDE
                            Unsecured        $0.00           $0.00      $0.00               $0.00
MICHIGAN DEPARTMENT OF TREASURY/REVENUE/AG
                            Unsecured    $3,496.06           $0.00      $0.00           $3,496.06
NAVY FEDERAL CREDIT UNION   Unsecured   $24,100.67           $0.00      $0.00          $24,100.67
NAVY FEDERAL CREDIT UNION   Unsecured    $7,308.61           $0.00      $0.00           $7,308.61
NAVY FEDERAL CREDIT UNION   Unsecured    $4,895.43           $0.00      $0.00           $4,895.43
NAVY FEDERAL CREDIT UNION   Unsecured      $231.65           $0.00      $0.00             $231.65
PENTAGON FEDERAL CR UN      Unsecured        $0.00           $0.00      $0.00               $0.00
PENTAGON FEDERAL CR UN      Unsecured        $0.00           $0.00      $0.00               $0.00
PIEDMONT HEALTHCARE         Unsecured        $0.00           $0.00      $0.00               $0.00
PORTFOLIO RECOVERY ASSOCIATES
                            Unsecured
                               LLC       $1,473.34           $0.00      $0.00           $1,473.34
PORTFOLIO RECOVERY ASSOCIATES
                            Unsecured
                               LLC         $893.86           $0.00      $0.00             $893.86
SANTANDER CONSUMER USA      Unsecured        $0.00           $0.00      $0.00               $0.00
UNIFIED COMMUNITIES FC      Unsecured        $0.00           $0.00      $0.00               $0.00
UNIFIED COMMUNITIES FC      Unsecured        $0.00           $0.00      $0.00               $0.00
UNIFIED COMMUNITIES FC      Unsecured        $0.00           $0.00      $0.00               $0.00
UNIFIED COMMUNITIES FC      Unsecured        $0.00           $0.00      $0.00               $0.00
UNIFIED COMMUNITIES FC      Unsecured        $0.00           $0.00      $0.00               $0.00
UNIFIED COMMUNITIES FC      Unsecured        $0.00           $0.00      $0.00               $0.00
UNIFIED COMMUNITIES FC      Unsecured        $0.00           $0.00      $0.00               $0.00
UNIFIED COMMUNITIES FC      Unsecured        $0.00           $0.00      $0.00               $0.00
UNIFIED COMMUNITIES FC      Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED (S/L)         Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
US DEPT OF ED/GSL/ATL (S/L) Unsecured        $0.00           $0.00      $0.00               $0.00
USAA SAVINGS BANK           Unsecured        $0.00           $0.00      $0.00               $0.00
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Administrative Costs:
CREDITOR NAME                                 CLASS              CLAIM AMT                 PRIN PD              INT PD               BAL DUE
Trustee Fees                                  Priority              $1,866.50            $1,866.50                 $0.00               TBD *
Debtor Refund                                 Priority                 $0.00                $0.00                  $0.00               $0.00
Attorney Fees                                 Priority              $4,750.00            $4,750.00                 $0.00               $0.00
Filing Fees                                   Priority                  $0.00                $0.00                 $0.00               $0.00



Notice is hereby given that inform ation relating to your Chapter 13 Bankruptcy case w ill be m ade available on the internet to your
creditors and other parties in interest.

Pursuant to 11 U.S.C. § 1302(b)(1) and 704(7), your Chapter 13 Trustee has a duty, unless otherw ise ordered by the Bankruptcy Court, to
furnish information concerning the administration of your bankruptcy case as is requested by parties in interest.

In furtherance of this duty, the Chapter 13 Trustee w ill make information available to parties in interest w ho request information such as the
follow ing:

1) Your name, address, bankrupcy case number, state and district in w hich your case is pending, and the Trustee assigned to your case.
Your Social Security Number w ill not be visible to parties in interest, but they w ill be able to search for your bankruptcy case using your Social
Security Number. Furthermore, your employer's name w ill not be displayed;

2) Information regarding claims filed against your bankruptcy case including the identity of the claimant, the type of claim (e.g., priority taxes,
secured, unsecured, etc.), and the amount of the claim;

3)   A history of all payments you make to the Chapter 13 Trustee in your bankruptcy case including the date and amount of each payment;

4) A history of all disbursements made by the Chapter 13 Trustee in your bankruptcy case including the date of the disbursement, the payee,
and the amount;

You may review , w ithout charge, the information about your Chapter 13 bankruptcy case that is posted on the Internet. If you believe the
information about your bankruptcy case is inaccurate, you can contact the NDC to report the error and you should receive a w ritten response
from the NDC w ithin thirty (30) days follow ing receipt of such report.

The URL address w here your information is posted is w w w .ndc.org w hich is operated by the National Data Center, Inc., ("NDC").
You can contact the NDC at 866-938-3639.
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